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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7    ROBERT FELTER, et al.,                              Case No.21-cv-04187-VC
                                                       Plaintiffs,
                                   8
                                                                                            JUDGMENT
                                                v.
                                   9
                                                                                            Re: Dkt. No. 43
                                  10    DELL TECHNOLOGIES, INC.,
                                                       Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          On July 29, 2022, the Court granted the motion to compel arbitration. Pursuant to Federal

                                  14   Rule of Civil Procedure 58, the Court hereby enters judgment in accordance with the order. See

                                  15   Dkt. 43. The Clerk of Court shall close the file in this matter.

                                  16          IT IS SO ORDERED.

                                  17   Dated: August 24, 2022

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                                                                                         VINCE CHHABRIA
                                  19                                                     United States District Judge
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